                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:10-cr-158
 v.                                                   )
                                                      )       COLLIER / LEE
 JAMES R. SMITH                                       )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser-included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser-included

 offense of the charge in Count One of the Indictment, that is of conspiracy to manufacture and

 distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter (Court File No. 127). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 127) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser-included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute five (5) grams or more of

             methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser-included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

             more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, September 8, 2011 at 2:00 p.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:
                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE



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